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 7                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF WASHINGTON
 8                                  AT SEATTLE
 9   UNITED STATES OF AMERICA,
                                                                   NO. CR06-241 RSL
10
                            Plaintiff,
11                                                                  ORDER CONTINUING
                    v.                                              TRIAL DATE
12
     ANIBAL LEON-INZUNZA and
13   MICHELLE R. JOSS

14                          Defendant.
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16       This matter having come before the court upon defendant Anival Leon-Inzunza’s
     “Motion and Declaration to Continue Trial” (Docket #24). The government and defendant
17   Michelle R. Joss do not oppose this motion. Having reviewed the Motion and Declaration
     and considered the Waiver of Speedy Trial Rights executed by Mr. Leon-Inzunza, the Court
18   finds that:
         1. Defense counsel had questions regarding defendant Leon-Inzunza’s competence to
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             stand trial. The psychological examination found him competent. However, based
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             on the results and findings of defendant’s examination, defense counsel now
             requires additional time to prepare the defendant for trial and to provide an effective
21           defense;
         2. Defendant Leon-Inzunza has filed a Waiver of Speedy Trial Rights (Docket #23)
22           which he has waived his right to a speedy trial until December 24, 2006;
         3. The time period between the original trial date of September 18, 2006 and the trial
23           date set herein is excludable under 18 USC § 3161 (h)(8)(A) that the ends of justice
             served by granting such continuance outweigh the best interest of the public and the
24           defendant for a speedy trial. Failure to grant a continuance based upon the change
             of circumstances, the need for effective preparation, and the consent of counsel and
25
             defendants would deny defense counsel adequate time to prepare for trial;
         4. Defendant Michelle R. Joss shall file a speedy trial waiver with the Court within
              10 days of the date of this Order.
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 2      IT IS NOW, THEREFORE, ORDERED that the trial date of September 18, 2006 is
     continued to December 4, 2006. Pretrial Motions shall be due no later than November 2,
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     2006.
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            DATED this 12th day of September, 2006.
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 7                                                      A
                                                        Robert S. Lasnik
 8                                                      United States District Judge
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